955 F.2d 48
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Alfredo MAGLINAO, Petitioner,v.UNITED STATES IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 91-70248.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 13, 1992.*Decided Feb. 19, 1992.
    
      Before CANBY, WILLIAM A. NORRIS and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      The petition for review is denied.   See Toquero v. INS, No. 90-70439, slip op. 995, 999 (9th Cir.  Jan. 31, 1992).
    
    
      3
      PETITION DENIED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    